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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

MATTHEW MAYNARD, individually,                    §
and on behalf of Maynard Investment               §
Group, LLC d/b/a Discount Sport                   §
Nutrition,                                        §
                                                  §
                  Plaintiff,                      §
                                                  §
v.                                                §        Civil Action No. 3:18-CV-0259-D
                                                  §
PAYPAL, INC. and PAYPAL                           §
HOLDINGS, INC.,                                   §
                                                  §
                  Defendants.                     §

                                             ORDER

         Pending before the Court is Defendants’ Motion to Stay Proceedings and Compel

Arbitration [DKT 9]. On April 5, 2018, Defendants PayPal, Inc. and PayPal Holdings, Inc.

(collectively, “Defendants”) filed their Notice of Withdrawal of Defendants’ Motion to Stay

Proceedings and Compel Arbitration [DKT __].

         Defendants’ Motion to Stay Proceedings and Compel Arbitration [DKT 9] is withdrawn

in its entirety.    Defendants shall file a responsive pleading to Plaintiff’s Verified Original

Petition and Application for Temporary Restraining Order and Temporary Injunction no later

than 14 days from the date of the entry of this Order.

         SO ORDERED.

         April ___, 2018.


                                                      SIDNEY A. FITZWATER
                                                      UNITED STATES DISTRICT JUDGE




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